                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       Criminal No. 3:11-00082
                                                    )       Judge Trauger
                                                    )
[11] JONAS LAVAR HAYES                              )

                                           ORDER

       Pursuant to the letter received by the court from the defendant (Docket No. 929), it is

hereby ORDERED that defense counsel shall communicate with his client in attempt to answer

his questions.

       It is so ORDERED.

       ENTER this 24th day of July 2012.


                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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